




Dismissed and Memorandum Opinion filed May 15, 2008








&nbsp;

Dismissed
and Memorandum Opinion filed May 15, 2008.

&nbsp;

&nbsp;

In The

&nbsp;

Fourteenth Court of
Appeals

____________

&nbsp;

NO. 14-08-00177-CR

____________

&nbsp;

ANDRAE LINZY,
Appellant

&nbsp;

V.

&nbsp;

THE STATE OF TEXAS, Appellee

&nbsp;



&nbsp;

On Appeal from the
178th District Court

Harris County, Texas

Trial Court Cause No.
1145293

&nbsp;



&nbsp;

M E M O R A N D U M&nbsp;&nbsp; O P I N I O N

A
written request to withdraw the notice of appeal, personally signed by
appellant, has been filed with this Court.&nbsp; See Tex. R. App. P. 42.2.&nbsp; Because this Court has not delivered
an opinion, we grant appellant=s request.

Accordingly,
we order the appeal dismissed.&nbsp; We direct the Clerk of the Court to issue the
mandate of the Court immediately.

&nbsp;

&nbsp;








PER CURIAM

&nbsp;

Judgment rendered and Memorandum
Opinion filed May 15, 2008.

Panel consists of Justices Frost,
Seymore, and Guzman.

Do not publish C Tex.
R. App. P. 47.2(b).





